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UNITED STATES DISTRICT COURT JS-6
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

Case No. CV 21-07359-JVS (DFM) Date: October 25, 2021

 

Title James Beushausen v. Heather Shirley

 

 

Present: The Honorable Douglas F. McCormick, United States Magistrate Judge

 

 

 

Nancy Boehme Not Present
Deputy Clerk Court Reporter
Attorney(s) for Petitioner: Attorney(s) for Respondent:
Not Present Not Present

 

Proceedings: (IN CHAMBERS) Order Granting Petitioner’s Request to Dismiss Petition
Without Prejudice (Dkt. 4)

On September 23, 2021, this Court ordered Petitioner to take one of three actions in
response to an apparent lack of exhaustion of state-court remedies with respect to one of his
alleged grounds for habeas relief. See Dkt. 3. On October 20, 2021, Petitioner filed a response. See
Dkt. 4. He “requests that this Petition be dismissed without prejudice under Federal Rule of Civil
Procedure 41(a)(1), with the understanding that any later petition may be time barred under 28
U.S.C. § 2241(d)(1).” Id.

Petitioner has an absolute right to dismiss before Respondent files an answer or motion for
summary judgment. See Fed. R. Civ. P. 41(a)(1)(A). Such a dismissal is presumed to be without
prejudice. See Fed. R. Civ. P. 41(a)(1)(B). Petitioner’s request is accordingly GRANTED.

Although Petitioner may re-allege his same claims in a future petition, this Court reminds
Petitioner that there is a 1-year statute of limitations applicable to habeas corpus claims under the
Antiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”), and that any future petitions
may be time-barred.

CV-90 (12/02) CIVIL MINUTES-GENERAL Initials of Deputy Clerk: nb
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